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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT



 DAVID GRANATA, on behalf of himself and
 all others similarly situated,                       Case No. 3:21-cv-01657-SVN

                             Plaintiff,

                        v.

PRATT & WHITNEY, A DIVISION OF
RAYTHEON TECHNOLOGIES                                 April 8, 2022
CORPORATION, et al.

                             Defendants.

           NOTICE OF VOLUNTARY DISMISSAL (WITHOUT PRJEUDICE)
                     PURSUANT TO FED. R. CIV. P. 41(a)(1)

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiffs Jacob Gaskill and Erica Holden in the action Gaskill, et al. v. Agilis Engineering, Inc., et

al., Case No. 3:22-cv-00071 (D. Conn.), and plaintiff Michael McMahon in the action McMahon

v. Agilis Engineering, Inc., et al., Case No. 3:22-cv-00115 (D. Conn.), consolidated with the

above-captioned litigation, hereby voluntarily dismiss their claims, without prejudice, against all

Defendants.

 Dated: April 8, 2022                               Respectfully submitted,

                                                    /s/ Karen M. Lerner
                                                    Karen M. Lerner
                                                    KIRBY McINERNEY LLP
                                                    250 Park Avenue, Suite 820
                                                    New York, NY 10177
                                                    Phone: (212) 371-6600
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 8, 2022, a copy of the foregoing Notice of Voluntary

Dismissal was filed electronically and served by mail on anyone unable to accept electronic filing.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system or by mail as indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court’s CM/ECF System.

                                                       /s/ Karen M. Lerner
                                                       KAREN M. LERNER phv20543




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